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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 SANTANDER HOLDINGS USA, INC.,                      )
                                                    )
                               Plaintiff,           )
                                                    )   CIVIL ACTION NO. ___________
                        v.                          )
                                                    )   JURY TRIAL DEMANDED
 FEDERAL INSURANCE COMPANY                          )
                                                    )
                               Defendant.           )
                                                    )

                                            COMPLAINT

       Plaintiff Santander Holdings USA, Inc. (“SHUSA”) brings this action against Defendant

Federal Insurance Company (“Chubb”), and in support thereof, states as follows:

                                 NATURE OF THE ACTION

       1.      This is an insurance coverage action seeking a declaratory judgment and damages

for breach of contract, breach of the implied covenant of good faith and fair dealing, and the tort

of bad faith arising from Chubb’s wrongful denial of coverage under a Primary Directors and

Officers and Entity Securities Liability Insurance Policy (the “Chubb Policy”) for losses incurred

in a consolidated class action brought in the Delaware Court of Chancery. See The Liverpool

Limited Partnership, et al. v. Santander Holdings USA, Inc., et al., C.A. No. 2022-0689 (Del. Ch.

Aug. 15, 2022) and Lycoming County Employees’ Retirement System, et al. v. Santander Holdings

USA, Inc., at al., C.A. No. 2022-0723 (Del. Ch. Aug. 25, 2022), consolidated and captioned as In

Re Santander Consumer USA Holdings Inc. Stockholder Litigation, Case No. 2022-0689-LWW

(the “Underlying Lawsuit”).
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                                           PARTIES

       2.      Plaintiff Santander Holdings USA, Inc. is a corporation incorporated under the laws

of Virginia with its principal place of business in Boston, Massachusetts. SHUSA is a subsidiary

of Banco Santander, S.A. (“BSSA”), a publicly traded global banking group based in Spain.

       3.      Defendant Federal Insurance Company is an insurance company organized under

the laws of Indiana with its principal place of business in New Jersey. Federal Insurance Company

is one of the Chubb Group of Insurance Companies under the ultimate control of Chubb

Corporation, which is a publicly traded holding company for various subsidiary property and

casualty insurance companies.

                                JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this civil action pursuant to

28 U.S.C. § 1332(a)(1), because there is complete diversity of citizenship between the Parties and

the amount in controversy exceeds $75,000 exclusive of interest and costs.

       5.      This Court has personal jurisdiction over Chubb because Chubb is licensed to

conduct business in Delaware and this dispute arises out of Chubb’s breach of the Chubb Policy

in connection with the Underlying Lawsuit, which is venued in Delaware and which arises out of

alleged wrongful acts committed in Delaware.

       6.      Venue is proper in the United States District Court for the District of Delaware

pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events and omissions giving

rise to this Complaint occurred in Delaware in that the Underlying Lawsuit for which Chubb owes

coverage is venued in Delaware.




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                                 FACTUAL BACKGROUND

                                   The Underlying Lawsuit

       7.      The Underlying Lawsuit was brought in the Delaware Court of Chancery in August

2022 alleging that SHUSA’s acquisition of the shares of Santander Consumer USA Holdings, Inc.

(“SCUSA”) that SHUSA did not already own was unfair to the minority shareholders of SCUSA

in terms of both price and process. While SHUSA already owned over 80 percent of the

outstanding shares of SCUSA, it made tender offers to acquire the remaining approximately 20

percent of the outstanding shares, resulting in a merger agreement in August 2021 and the

completion of the acquisition on January 31, 2022.

       8.      On July 1, 2021, SHUSA made a proposal to acquire the SCUSA shares not already

owned by SHUSA for $39 a share.

       9.      In response, SCUSA established a Special Committee to independently evaluate

SHUSA’s proposal.

       10.     SHUSA negotiated with SCUSA’s Special Committee, ultimately culminating in a

final proposal in which SHUSA would acquire the SCUSA shares not already owned by SHUSA

for $41.50.

       11.     After securing a fairness opinion, SCUSA’s Special Committee unanimously

recommended that SCUSA’s board of directors approve the transaction.

       12.     On August 23, 2021, SCUSA’s board unanimously approved the transaction and

executed a merger agreement, and the merger ultimately became effective on January 31, 2022.

       13.     Plaintiffs in the Underlying Lawsuit allege that SHUSA and BSSA (which they

define as the Controller Defendants) “chose to use their control over [SCUSA] to usurp significant




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value from” plaintiffs and “employed the coercive force of their control against the minority

stockholders[.]”

       14.     Plaintiffs in the Underlying Lawsuit allege that SHUSA and BSSA, as the

“Controller Defendants,” are liable for breaching their fiduciary duties owed to plaintiffs and the

class of minority shareholders and seek damages for those alleged breaches.

       15.     Plaintiffs in the Underlying Lawsuit alleged that SHUSA “had the right to nominate

directors to [SCUSA’s] Board equal to its percentage ownership of [SCUSA’s] then outstanding

shares” and that SHUSA “actively oversaw and controlled” the “employment, performance

review, and compensation” of “dual fiduciary” individuals who serve as directors and officers for

both SHUSA (or other affiliated entities) and SCUSA.

       16.     According to the plaintiffs in the Underlying Lawsuit, the “dual fiduciaries,”

simultaneously acted as SCUSA and SHUSA board members and/or representatives, and for that

reason “were interested and lacked independence from [SHUSA] by virtue of . . . roles and

connections” directly tied to SHUSA.

       17.     For instance, the plaintiffs in the Underlying Lawsuits alleged that the following

individuals were not disinterested, and therefore biased, because they acted as dual fiduciaries:

               a.      Juan Carlos Alvarez de Soto: Nominated by SHUSA to SCUSA’s board
                       and a “dual fiduciary, simultaneously serving on [SCUSA’s] Board and
                       acting as [SHUSA’s] CFO since September 2019.”;

               b.      Stephen A. Ferriss: Nominated by SHUSA to SCUSA’s board and “a dual
                       fiduciary, simultaneously serving on [SCUSA’s] Board and as a director of
                       [SHUSA] (since 2012).”

               c.      Edith E. Holiday: Nominated by SHUSA to SCUSA’s board and “a dual
                       fiduciary, simultaneously serving on [SCUSA’s] Board and [SHUSA’s]
                       board of directors since 2019.”

               d.      Javier Maldonado: Nominated by SHUSA to SCUSA’s board and “a dual
                       fiduciary, serving on [SCUSA’s] Board and as a [SHUSA] director since
                       April 2015[.]”

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               e.      Mahesh Aditya: Nominated by SHUSA to SCUSA’s board and formerly
                       SHUSA’s Chief Risk Officer and SHUSA’s COO.

                                        The Chubb Policy

       18.     The Chubb Policy is a Primary Directors & Officers and Entity Security Liability

Insurance policy with a Policy Period of July 1, 2022 to July 1, 2023, bearing Policy Number

J05946104. The Chubb Policy is attached as Exhibit A.

       19.     The Chubb Policy insures SHUSA as the “Parent Organization,” as well as any

“Organization” and “Insured Person.”

       20.     An “Organization” includes SHUSA and any Subsidiary. The definition of

“Subsidiary” includes both SHUSA and SCUSA, given that the Chubb Policy was issued after the

effective date of the merger and, at that point, SCUSA was wholly owned by SHUSA.

       21.     An “Insured Person” includes a “duly elected or appointed director, officer,

Manager . . . risk manager or the in-house general counsel of any Organization organized in the

United States, including a holder of a position equivalent to any position described in the foregoing

in a branch office of such Organization that is located in a Foreign Jurisdiction.”

       22.     The Chubb Policy’s Insuring Clauses provide three separate coverages, with

Coverage B and Coverage C being relevant presently to the Underlying Lawsuit:

               A.      [Chubb] shall pay, on behalf of an Insured Person, Loss on account
                       of a Claim first made against an Insured Person during the Policy
                       Period, except to the extent that such Loss has been paid or
                       indemnified.

               B.      [Chubb] shall pay, on behalf of an Organization, Loss on account of
                       a Claim first made against an Insured Person during the Policy
                       Period, to the extent the Organization pays or indemnifies such loss.

               C.      [Chubb] shall pay, on behalf of an Organization, Loss on account of
                       a Securities Claim first made against an Organization during the
                       Policy Period.



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        23.      “Loss” is defined in the Chubb Policy to include defense costs, compensatory

damages, punitive damages, exemplary damages, or multiplied damages, civil fines and penalties

assessed against an Insured Person, judgments, pre-judgment and post-judgment interest,

settlements, and (via Endorsement 40) amounts attributable to violations of Sections 11, 12 or 15

of the Securities Act of 1933, as amended, to the extent such amount is insurable under the law

pursuant to which the Chubb Policy is construed.

        24.      “Claim” is defined in the Chubb Policy to include a “written demand . . . for

monetary or non-monetary relief, or for arbitration, mediation, or other equivalent alternative

dispute resolution proceeding, against an Insured for a Wrongful Act, commenced by the first

receipt of such demand by an Insured.” A “Claim” also includes a “proceeding, including any

appeal therefrom, against an Insured for a Wrongful Act, commenced by . . . the service of a civil

complaint or similar pleading, or any foreign equivalent thereof,” or “the service of a notice of

charges or any foreign equivalent thereof[.]”

        25.      “Wrongful Act” is defined in the Chubb Policy to include any “error, misstatement,

misleading statement, act, omission, neglect, or breach of duty committed, attempted, or allegedly

committed or attempted by: (1) an Insured Person in his capacity as such or (2) for purposes of

any coverage afforded under Insuring Clause (C), Entity Securities Coverage, by the Organization”

and “any other matter claimed against an Insured Person solely by reason of serving in his capacity

or status as such. . . .”

        26.      The Chubb Policy provides coverage up to a $10 million limit of liability, subject

to a $5 million retention for claims made under Insuring Clauses B and C, including for a Merger

Objection Claim.




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       27.     In Endorsement 4, Merger Objection Claim is defined as “a Claim based upon,

arising from, or in consequence of any proposed or actual merger, acquisition or consolidation to

which an entity, including an Organization, is a potential or actual party.” Endorsement 4 amends

the definition of “Securities Claim” to include a Merger Objection Claim, thereby extending

coverage to SHUSA for a Merger Objection Claim.

       28.     Chubb’s sole asserted basis for its complete denial of coverage is Endorsement 15

to the Chubb Policy.

       29.     Section 1 of Endorsement 15 excludes Loss on account of any Claim made against

SCUSA or any Insured Person thereof based upon, arising from, or in consequence of any Specific

Matter as defined in Section 2 of Endorsement 15. Section 1 of Endorsement 15 states clearly:

“Provided that, the foregoing exclusion shall only apply to Insured Persons of Santander Consumer

USA Holdings, Inc. while acting or by reason of serving in his or her capacity as such.”

       30.     By its explicit terms, Section 1 of Endorsement 15 applies only to SCUSA and

Insured Persons while acting or by reason of serving in his or her capacity of an Insured Person of

SCUSA, not to SHUSA or Insured Persons while acting or by reason of serving in his or her

capacity of an Insured Person of SHUSA.

       31.     Section 2 of Endorsement 15 defines the “Specific Matter” as the “transaction

completed on January 31, 2022 pursuant to a definitive agreement dated August 23, 2021” between

SHUSA and SCUSA.

       32.     Section 3 of Endorsement 15 amends the definition of Subsidiary to include

SCUSA and sets a “pending or prior proceedings date” of January 31, 2022. Via this provision,

the Chubb Policy excludes coverage for SCUSA for proceedings that were pending prior to

January 31, 2022.



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       33.     By its explicit terms, Section 3 of Endorsement 15 applies only to SCUSA.

       34.     Section 4 of Endorsement 15 states that “[s]olely with respect to any Subsidiary

specified in paragraph (3) of this Endorsement [i.e., SCUSA] or any Insured Person thereof, no

coverage shall be available for Loss on account of any Claim based upon, arising from, or in

consequence of any Claim first commenced against any Subsidiary or Insured Person thereof, prior

to the Pending or Prior Proceedings Date set forth opposite such Subsidiary.

       35.     By its explicit terms, Section 4 of Endorsement 15 applies only to SCUSA and any

Insured Person of SCUSA, not to SHUSA or Insured Persons while acting or by reason of serving

in his or her capacity of an Insured Person of SHUSA.

       36.     Section 5 of Endorsement 15 states as follows:

       [Chubb] shall not be liable for Loss based upon, arising from, or in consequence of
       any fact circumstance or Wrongful Act committed, attempted, or allegedly
       committed, attempted, or allegedly committed or attempted by Santander
       Consumer USA Holdings, Inc. any subsidiary, or any Insured Persons thereof, in
       whole or in part prior to 8:00 a.m. on 1/31/2022 (local time at the address shown in
       Item 1. of the Declarations).

       37.     By its explicit terms, Section 5 of Endorsement 15 applies only to Loss based upon,

arising from, or in consequence of Wrongful Acts committed by SCUSA and any Insured Person

of SCUSA, not to Loss based upon, arising from, or in consequence of Wrongful Acts committed

by SHUSA or Insured Persons while acting or by reason of serving in his or her capacity of an

Insured Person of SHUSA.

       38.     SHUSA is not being sued vicariously for the acts of SCUSA or SCUSA Insured

Persons. Rather, the Underlying Lawsuit alleges independent wrongful acts of SHUSA for which

the plaintiffs seek to hold SHUSA liable.

       39.     SCUSA and Insured Persons thereof have a separate insurance program that covers

their liability with respect to any Claim for a Wrongful Act committed in whole or in part prior to


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January 31, 2022. That insurance program has accepted coverage for the dual-fiduciary defendants

in their alleged capacities as directors and officers with SCUSA. That insurance program does not

cover SHUSA. Rather, SHUSA’s insurance program covers SHUSA, as well as its directors and

officers, and Chubb is the primary carrier in that program.

       40.     Chubb should have accepted coverage in relation to the Underlying Lawsuit for

SHUSA and Insured Persons of SHUSA (in their alleged capacities as directors and officers of

SHUSA). Those individuals who are alleged to have acted in their capacities both as SHUSA

officers and directors and as SCUSA officers and directors may have coverage under both the

SCUSA insurance program and under the SHUSA insurance program. Chubb owes coverage for

the share of Loss attributable to SHUSA and Insured Persons of SHUSA (in their alleged capacities

as directors and officers of SHUSA).

       41.     Because some Loss incurred in relation to the Underlying Lawsuit is covered, and

other Loss is uncovered, the Allocation provision of the Chubb Policy is relevant:

       The Insureds and the Company shall use their best efforts to determine an allocation
       between Loss that is covered and any amount that is not covered; in all instances,
       such determination shall be based on the relative legal and financial exposure of the
       covered parties to the covered matters.

       42.     SHUSA, BSSA, and the dual-fiduciary defendants are all being defended in the

Underlying Lawsuit by common counsel at Wachtell, Lipton, Rosen & Katz and Ross Aronstam

& Moritz, LLP. In breach of its obligations under the Chubb Policy, Chubb has refused to accept

an allocated share of responsibility for those defense expenses. Presently, more than $5 million of

defense expenses have been incurred in the defense of the Underlying Lawsuit by Wachtell,

Lipton, Rosen & Katz and Ross Aronstam & Moritz, LLP.




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                                  Chubb’s Denial of Coverage

       43.     SHUSA placed Chubb on notice of the Underlying Lawsuit and sought coverage

from Chubb.

       44.     On December 2, 2022, Chubb acknowledged receipt of the Underlying Lawsuit

under the Chubb Policy but denied all coverage, citing Endorsement 15 of the Chubb Policy.

       45.     On March 15, 2023, SHUSA responded to Chubb’s claim denial, requesting that

Chubb reconsider its coverage position.

       46.     Specifically, SHUSA reminded Chubb that: 1) “SHUSA is one of the Controller

Defendants [in the Underlying Lawsuit] and is owed coverage;” 2) a “number of individual Insured

Person defendants are identified in the [Underlying Lawsuit] as joint fiduciaries, owing duties both

to [SCUSA] and [SHUSA];” and 3) “Coverage must be provided both to SHUSA itself and to the

individual ‘Insured Persons’ defendants alleged to have committed ‘Wrongful Acts’ in their

capacity as director or officer of SHUSA or SHUSA subsidiaries other than [SCUSA].”

       47.     SHUSA cautioned Chubb that it “erroneously ignored the dual capacity issue and

focused only on individuals’ roles on the Board of Directors of [SCUSA].” Accordingly, SHUSA

requested that Chubb withdraw its coverage denial and acknowledge its coverage obligations to

SHUSA and its officers and directors.

       48.     Chubb responded on July 7, 2023, reiterating its coverage denial and incorrectly

asserting that the Underlying Lawsuit does not allege Wrongful Acts against any SHUSA directors

and/or officers in their insured capacities. Chubb, however, stated the following: “[T]o the extent

any Insured Person of SHUSA is named as a defendant in such Claim and Wrongful Acts are

alleged against such SHUSA Insured Person/s in their capacity as an officer or director of SHUSA,

then the [Chubb] Policy, subject to its terms, conditions and exclusions, may provide coverage for

such SHUSA Insured Persons for Wrongful Acts alleged against them in their insured capacities.”

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        49.     SHUSA responded on August 8, 2023, again urging Chubb to reconsider its

position because the Underlying Lawsuit made factual allegations of misconduct against SHUSA

officers and directors precisely because they are SHUSA officers and directors. Moreover, Chubb

clearly owed coverage to SHUSA as an entity.

        50.     After repeated efforts to obtain a response to that letter of August 8, 2023, Chubb

finally sent correspondence on January 23, 2024, reiterating Chubb’s position that there is no

coverage at all for any individual defendants and that Chubb would “continue its investigation as

to whether the allegations against SHUSA are entirely excluded” by Endorsement 15. Chubb

agreed to “attend and participate” in the mediation of the Underlying Lawsuit on February 28,

2024.

        51.     SHUSA requested that Chubb attend with full authority to settle for its limits of

liability, should such settlement appear reasonable at the mediation. That mediation was

unsuccessful.

        52.     With regard to the “dual-fiduciary defendants,” SHUSA has explained repeatedly

that those individuals are covered to the extent that they were acting in their capacity as officers

or directors of SHUSA. SHUSA explained that Chubb’s position that the Underlying Lawsuit

does not assert claims against any of the dual-fiduciary defendants in their capacities as directors

or officers of SHUSA is factually incorrect. Moreover, it should be beyond question that Chubb

owes entity coverage to SHUSA for the Underlying Lawsuit.

        53.     To the extent that individuals are sued in their capacity of and by reason of their

service as officers and directors of SHUSA, they are covered by Chubb and the entire SHUSA

insurance tower. To the extent those individuals are also sued in their capacity and by reason of

their service for SCUSA, they are covered by SCUSA’s separate insurance program. In other



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words, if individuals are sued both in their capacity and by reason of their service as an officer or

director of SCUSA and as an officer or director of SHUSA, it becomes a matter of allocation

between the SCUSA insurance program and the SHUSA insurance program.

       54.     Endorsement 15 clearly does not exclude any liability of SHUSA as an entity for a

breach of its fiduciary duty as a controlling stockholder of SCUSA. It would have been easy

enough to exclude all coverage for loss relating to the “Specific Matter” (defined as it is in Section

2 of Endorsement 15), if that was intended, but that is not what Endorsement 15 does.

Endorsement 15 specifically limits its application to SCUSA or “any Insured Person thereof” and

then, to be make it doubly clear, limits its application to SCUSA Insured Persons only to the extent

they are acting in that capacity, thereby making clear that even SCUSA Insured Persons have

coverage in relation to the “Specific Matter” to the extent they are sued for their wrongful acts, in

whole or in part, as directors or officers of SHUSA.

       55.     SHUSA has a reasonable expectation of coverage for the Underlying Lawsuit under

the Chubb Policy, both for its own liability and for the indemnification of the liability of its

directors and officers.

       56.     In sum, Endorsement 15 does not exclude coverage for SHUSA or its directors or

officers. Notably, Endorsement 15 is the only basis for the denial of coverage asserted by Chubb,

and as explained above, Endorsement 15 provides no reasonable basis for denying coverage to

SHUSA or its officers and directors. Chubb must bear the burden to prove any exclusion to

coverage, and Chubb has not met that burden.




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                                            COUNT I
                                        Breach of Contract

       57.     SHUSA re-alleges and incorporates all of the foregoing paragraphs of this

Complaint as though fully set forth herein.

       58.     The Chubb Policy is a valid and enforceable contract between SHUSA and Chubb.

       59.     SHUSA has performed all obligations under the Chubb Policy, and any and all

conditions precedent to coverage have been satisfied or waived.

       60.     The Chubb Policy provides coverage for Loss incurred by SHUSA and for SHUSA

Insured Persons in connection with the Underlying Lawsuit, which constitutes a Claim for

Wrongful Acts under the Chubb Policy.

       61.     In connection with the Underlying Lawsuit, SHUSA has incurred Loss in excess of

the Chubb Policy’s retention.

       62.     Pursuant to the terms and conditions of the Chubb Policy, Chubb is contractually

obligated to pay for all Loss, including Defense Costs, for the Underlying Lawsuit up to the full

limits of liability under the Chubb Policy.

       63.     By failing to pay all Loss allocable to SHUSA and SHUSA Insured Persons in

connection with the Underlying Lawsuit, Chubb has materially breached the terms of the Chubb

Policy, thereby damaging and continuing to damage SHUSA.

       WHEREFORE, SHUSA respectfully requests that judgment be entered in its favor and

against Chubb with respect to Count I, in an amount in excess of $75,000.00, as necessary to fully

compensate SHUSA for each material breach of the Chubb Policy, including: (a) all Loss that

SHUSA has incurred or will incur; (b) damages, fees and costs to the full extent permitted by law;

(c) pre- and post-judgment interest and court costs to the full extent permitted by law; and (d) such

other relief as this Court deems just, proper, and equitable.


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                                          COUNT II
                                     Declaratory Judgment

          64.   SHUSA re-alleges and incorporates all of the foregoing paragraphs of this

Complaint as though fully set forth herein.

          65.   SHUSA seeks a judicial determination pursuant to 28 U.S.C. §§ 2201, et seq., of

the respective rights and obligations of SHUSA and Chubb with respect to an actual and justiciable

controversy concerning coverage under the Chubb Policy for the Loss incurred by SHUSA in

connection with the Underlying Lawsuit.

          66.   Chubb has refused to acknowledge, failed to honor, or otherwise disputes its

obligation under the Chubb Policy to provide coverage for Loss stemming from the Underlying

Lawsuit and for any potential settlement or judgment that may ultimately be entered to resolve the

Underlying Lawsuit.

          67.   It is necessary and proper for this Court to declare the rights of SHUSA and the

obligations of Chubb under the Chubb Policy. Declaratory relief from this Court will resolve this

actual and justiciable controversy regarding Chubb ’s obligations under the Chubb Policy to

advance defend expenses and/or indemnify SHUSA for the Underlying Lawsuit.

          68.   WHEREFORE, SHUSA respectfully request that judgment be entered in its favor

and against Chubb with respect to Count II and that, pursuant to 28 U.S.C. §§ 2201, et seq., this

Court issue the following declarations: (i) Chubb is obligated to advance Defense Costs for the the

defense of the Underlying Lawsuit, up to the applicable limits of liability of the Chubb Policy; and

(ii) Chubb is obligated to pay all Loss SHUSA incurs in connection with the Underlying Lawsuit

(including any future settlement or judgment), up to the applicable limits of liability of the Chubb

Policy.




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                                         COUNT III
                Breach of the Implied Covenant of Good Faith and Fair Dealing

       69.      SHUSA re-alleges and incorporates all of the foregoing paragraphs of this

Complaint as though fully set forth herein.

       70.      The Chubb Policy contains an implied covenant of good faith and fair dealing that

prohibits Chubb from doing anything to injure the rights of SHUSA and prohibits Chubb from

placing its own interests above those of SHUSA.

       71.      Chubb has an obligation to act in good faith toward SHUSA in responding to and

investigating claims.

       72.      As set forth above, Chubb has placed its own interests ahead of SHUSA’s interests

to the detriment of SHUSA.

       73.      SHUSA’s investigation of the claim was unreasonable, willful and wanton, and in

reckless disregard of SHUSA’s rights under the Chubb Policy and at law.

       74.      Chubb’s refusal to honor its obligations under the Chubb Policy is frivolous and

unfounded.

       75.      SHUSA has been, and continues to be, harmed as a result of Chubb’s breach.

       76.      Chubb has breached its contractual duty of good faith and fair dealing by, among

other things:

                a.        Engaging in improper claims-handling tactics including but not limited to:

                        i.       Misrepresenting to SHUSA material facts and policy provisions
                                 relating to coverage at issue;

                     ii.         Unreasonably and without basis ignoring evidence provided by
                                 SHUSA supporting coverage;

                     iii.        Failing to properly investigate the claim; and

                     iv.         Failing to act with diligence and/or acting in a dilatory manner.


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               b.      Failing and refusing to honor SHUSA’s repeated demands for an
                       acknowledgement of coverage and payment under the Chubb Policy
                       without any adequate basis under the Chubb Policy or at law.

               c.      Failing to pay proceeds under the Chubb Policy that are due and owing.

               d.      Refusing to withdraw its coverage denial after SHUSA identified the many
                       errors in fact and law underlying Chubb’s erroneous coverage position.

               e.      Compelling SHUSA to institute litigation to recover amounts due under the
                       Chubb Policy by denying coverage without substantial justification.

               f.      Refusing to use its best efforts to reach a reasonable allocation of Loss
                       between covered and uncovered Loss.

       77.     Chubb engaged in the foregoing conduct in order to deprive SHUSA of insurance

coverage to which SHUSA is entitled and to further the financial interests of Chubb.

       78.     Chubb engaged in the foregoing conduct with knowledge that forcing SHUSA to

engage in coverage litigation posed significant risks to the defense and potential for settlement of

the Underlying Lawsuit and of reputational injury to SHUSA.

       WHEREFORE, SHUSA respectfully requests that judgment be entered in its favor and

against Chubb with respect to Count III, in an amount in excess of $75,000.00, as necessary to

fully compensate SHUSA for Chubb’s bad faith conduct, including: (a) compensatory, direct and

consequential damages in an amount to be determined at trial; (b) pre- and post-judgment interest

and court costs to the full extent permitted by law; (c) attorneys’ fees and costs; and (d) such other

relief as this Court deems just, proper, and equitable.

                                           COUNT IV
                                         Tort of Bad Faith

       79.     SHUSA re-alleges and incorporates all of the foregoing paragraphs of this

Complaint as though fully set forth herein.

       80.     Chubb has acted in bad faith towards SHUSA by, among other things:


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                a.          Engaging in improper claims-handling tactics including but not limited to:

                       i.          Misrepresenting to SHUSA material facts and policy provisions
                                   relating to coverage at issue;

                     ii.           Unreasonably and without basis ignoring evidence provided by
                                   SHUSA supporting coverage;

                     iii.          Failing to properly investigate the claim; and

                     iv.           Failing to act with diligence and/or acting in a dilatory manner.

                b.      Failing and refusing to honor SHUSA’s repeated demands for an
                        acknowledgement of coverage and payment under the Chubb Policy
                        without any adequate basis under the Chubb Policy or at law.

                c.      Failing to pay proceeds under the Chubb Policy that are due and owing.

                d.      Refusing to withdraw its coverage denial after SHUSA identified the many
                        errors in fact and law underlying Chubb’s erroneous coverage position.

                e.      Compelling SHUSA to institute litigation to recover amounts due under the
                        Chubb Policy by denying coverage without substantial justification.

                f.      Refusing to use its best efforts to reach a reasonable allocation of Loss
                        between covered and uncovered Loss.

       81.      Chubb engaged in the foregoing conduct in order to deprive SHUSA of insurance

coverage to which SHUSA is entitled and to further the financial interests of Chubb.

       82.      Chubb engaged in the foregoing conduct with knowledge that forcing SHUSA to

engage in coverage litigation posed significant risks to the defense and potential for settlement of

the Underlying Lawsuit and of reputational injury to SHUSA.

       83.      Chubb knew that its denial of coverage was without reasonable basis or recklessly

disregarded its lack of a reasonable basis for refusing its obligation to pay benefits due under the

Chubb Policy.

       WHEREFORE, SHUSA respectfully requests that this Court enter judgment in its favor

and against Chubb with respect to Count IV, in an amount in excess of $75,000.00, as necessary


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to fully compensate SHUSA for Chubb’s bad faith conduct, including: (a) damages sustained as a

result of Chubb’s bad faith conduct, including, without limitation, compensatory damages,

consequential damages, and exemplary damages in an amount allowed by law; (b) punitive

damages in an amount to be determined at trial; (c) attorneys’ fees and costs; (d) pre- and post-

judgment interest and court costs to the full extent permitted by law; and (e) such other relief as

this Court deems just, proper, and equitable.

                                   JURY TRIAL DEMAND

       SHUSA requests a trial by jury on all claims so triable.



 Dated: March 5, 2024                                    Respectfully submitted,

 OF COUNSEL:                                             REED SMITH LLP

 REED SMITH LLP                                          /s/ Brian M. Rostocki
 Timothy P. Law                                          Brian M. Rostocki (No. 4599)
 (pro hac vice forthcoming)                              Anne M. Steadman (No. 6221)
 1717 Arch Street, Suite 3100                            1201 Market Street, Suite 1500
 Philadelphia, PA 19103                                  Wilmington, DE 19801
 215-241-1262                                            302-778-7500
 tlaw@reedsmith.com                                      brostocki@reedsmith.com
                                                         asteadman@reedsmith.com
 REED SMITH LLP
 Courtney C.T. Horrigan
 (pro hac vice forthcoming)
 Jorge M. Rojas
 (pro hac vice forthcoming)
 225 Fifth Avenue
 Pittsburgh, PA 15222
 412-288-3131
 chorrigan@reedsmith.com
 jrojas@reedsmith.com




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